IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION

No. 5:11-HC-2137-H

UNITED STATES OF AMERICA,
Petitioner,
ORDER

Vv.

EARL WEBSTER COX,

Nee ee eee es te

Respondent.

The United States initiated this action on July 12, 2011,
seeking to civilly commit Earl Webster Cox as aé_ sexually
dangerous person under the Adam Walsh Child Protection and
Safety Act of 2006, 18 U.S.C. 8§ 4247-4248 (‘Adam Walsh Act”).
On September 19, 2012, the court conducted an evidentiary
hearing pursuant to 18 U.S.C. § 4247(d). The government
presented the testimony of three expert witnesses: Dr. Joseph
Plaud,’ Dr. Heather Ross, and Dr. Jeffrey Davis, all of whom are
licensed clinical psychologists.’ In addition, the court

admitted into evidence various documentary exhibits offered by

 

lpr. Plaud was selected by respondent to conduct a mental
health examination but was called to testify on behalf of the
government.

*The government also called as a witness Karen Paynter, a
case worker at FCI Butner and the records custodian for Adams
Walsh Act cases.

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the parties, including the reports of forensic evaluations

conducted by the expert witnesses, court records, and prison

records. The parties have each filed proposed findings of fact
and conclusions of law, and this matter is ripe for
adjudication.

BACKGROUND

Earl Webster Cox is a fifty-five-year-old male who has been
in federal custody since January 2003. At the time this action
was initiated, Cox was serving a 120-month term of imprisonment
for the attempted enticement of a minor to travel in interstate
commerce for sexual activity, in violation of 18 U.S.C. §&§&
2422(a) and 2426(a), and receipt of child pornography, in
violation of 18 U.S.C. § 2252A(a) (2) (A). Cox was due to be
released from custody on September 27, 2011; however, on July
12, 2011, the government certified Cox as a sexually dangerous
person pursuant to 18 U.S.C. § 4248, thereby staying Cox’s
release from federal custody.

A. Personal History

Cox was born and raised in St. Louis, Missouri, along with

two older sisters and two younger brothers. Cox's father was
employed as a restaurant manager. Both of Cox’s parents were
heavy drinkers. Cox reports having witnessed his father rape

his mother when Cox was seven years old. At the age of twelve,

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Cox’s father died as a result of a ruptured ulcer. His death
greatly impacted Cox, who has described his life as having ended
when his father died.

A year after the death of Cox’s father, Cox’s mother
married a Merchant Marine. Cox's step-father was also a heavy
drinker and verbally and physically abused Cox, his mother, and
his siblings.* Due to the abuse, Cox frequently ran away from
home. Cox began drinking alcohol at the age of twelve or
thirteen.

Cox graduated from high school and joined the United States
Air Force in 1975. Cox received training in computer operations
at the Air Force Technical School in Biloxi, Mississippi. Upon
completion of his training, Cox served as a computer operator
for five years. Cox was stationed at the Air Force Global
Weather Central Command at Offutt Air Force Base in Omaha,
Nebraska, for three years and at the Rhein-Main Air Force Base
in Frankfurt, Germany, for two years.

In 1980, Cox was court-martialed and dishonorably
discharged upon his conviction of multiple sex offenses

involving four minor children. He received a sentence of eight

 

3At one point, his mother was wheelchair bound after having
been severely beaten and pushed down the stairs by = Cox's
stepfather.

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years, which he served at Fort Leavenworth. Cox was paroled in
December 1985.

In January 1987, Cox married a convicted murderer he had
met while incarcerated at Fort Leavenworth. The marriage was
apparently one of convenience. After their release from prison,
she became pregnant with another man’s child. Cox agreed to
marry her so the child would have a father. Cox and his wife
lived together for less than one year, then separated. At six
weeks of age, the child was given to his wife’s parents, who
eventually adopted the baby.

Cox claims to have had eight prior sexual partners, all
female. His first sexual experience occurred at the age of
seventeen or eighteen with a girlfriend of the same age. His
longest relationship was with a married woman with whom he lived
from May 1994 to December 1996. His most recent relationship
was in 1998. Cox also engaged in sexual intercourse with

prostitutes approximately twelve times while stationed in

 

Germany.
B. Sexual Offense History
Cox's first criminal conviction was in 1982. On several

occasions between August 1980 and April 1981, Cox sexually
assaulted four children he was babysitting while stationed in

Germany. The victims were all female, ranging in age from seven

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to eleven. On August 30, 1980, Cox unlawfully struck two of the
girls on the buttocks with his hand. On that same date, he
rubbed the genitalia of one of the victims, pulled her pants
down thereby exposing her genitalia, and inserted one of his
fingers into her vagina. He forced the other victim to pull her
pants down and thereupon rubbed her genitalia with his hand. In
November 1980, Cox rubbed a child’s “private parts” with his
hand while she was clothed for the purpose of sexual
gratification. On December 23, 1980, Cox took indecent
liberties with a victim by pulling her pants down, exposing her
private parts, spreading her legs apart and inserting a. candy
cane into her vagina, which he forced her to lick after he had
withdrawn it from her vagina. Also on that date, Cox committed
sodomy upon one of the children by licking her genitalia. In
April 1981, Cox grabbed a child by the waist and turned her
upside down with her legs apart with the intent to gratify his
sexual desires. As a result of these actions, Cox was convicted
of sodomy of a child under the age of sixteen, three counts of
assault and battery and six counts of indecent acts with a child
under the age of sixteen. Cox served five years on an eight-
year term of imprisonment and was paroled on December 2, 1985.
While on parole from these offenses, Cox was arrested and

charged with sexual abuse of a child for an October 1989

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incident when Cox took two girls (approximately six or. seven
years old) to the movies, then to a park. Although the charges
were dismissed with prejudice in September 1991, Cox’s parole
was subsequently revoked as a result of the October 1989
incident and another incident of alleged touching of a. child
about which Cox had been questioned by police in June 1991.
Upon revocation of his parole, Cox was incarcerated at Fort
Leavenworth from January 1992 until his discharge on December 7,
1992,

In or around 1997, Cox became involved in an international
child pornography network known as the “Brotherhood.” The
Brotherhood operated electronic bulletin boards on which members
post hyperlinks to child pornography images and web sites, The
images posted could be exiting images or new images produced by
the member. The bulletin boards had three main public areas:
Ranchi, Panty Raiders/Lolita Lovers and Shadows. There are algo
semi-private and private boards which a member can access only
after having posted a certain number of child pornography images
and having been promoted within the group. Cox was an
administrator for the Panty Raiders/Lolita Lovers group for a
number of years. As an administrator, he helped maintain the

bulletin board by deleting old or decommissioned child

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pornography links and policing chats, thereby facilitating the
international distribution of child pornography.

In November 2002, Cox began exchanging sexually explicit
emails with “Brenda,” an undercover FBI agent posing as a
fourteen-year-old girl in an internet chat room named “teen
flirt.” Using the screen name “YoungStuff,” Cox told “Brenda”
that he wanted to £*** her and spank her. Cox sent “Brenda”
emails encouraging her to leave her home in Virginia and come to
Colorado to be his “sex slave.” Cox sent “Brenda” $60.00 for
bus fare from Fredericksburg, Virginia, to Pueblo, Colorado. Cox
instructed her to wear a short skirt, red tube top and no bra or
panties and told her to meet him at a restaurant up the hill
from the Pueblo bus station on January 10, 2003.

An undercover officer, dressed as Cox had instructed, got
off the bus at Pueblo and met Cox at the restaurant. Cox
identified himself to “Brenda” and was arrested. Cox admitted
his actions and told the agents that he would have had sex with
“Brenda” had she been willing.

Following Cox’s arrest, agents conducted a search of Cox’s
home and computer. A forensic examination of the computer
revealed in excess of 45,000 still images and videos of child
pornography, including nineteen videos of a man _ raping,

sodomizing and sexually abusing his biological daughter, who

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appeared to be between three and five years of age at the time.

As a result of this conduct, Cox was charged with attempted
enticement of a minor to travel in interstate commerce for
sexual activity, in violation of 18 U.S.C. §§ 2422(a) and
2426(a); using the mail or interstate commerce to attempt to
entice a minor to engage in sexual activity, in violation of 18
U.S.C. §§ 2422(b) and 2426(a); possession of child pornography,
in violation of 18 U.S.C. § 2252A(a) (5) (B); and nineteen counts
of receiving child pornography, in violation of 18 U.S.C. §&
2252A(a) (2) (A). On August 14, 2003, Cox pled guilty in the
United States District Court for the District of Colorado to
attempted enticement of a minor to travel in interstate commerce
for sexual activity and one count of receiving child
pornography. Cox was subsequently sentenced to 120 months’
imprisonment and three years of supervised release. Cox has
been in federal custody since that time.

Cox completed four years of sex offender treatment while
incarcerated at Fort Leavenworth. Additionally, he participated
in outpatient psychotherapy while on parole from 1985 to 1989.
He has not participated in the sex offender treatment program

while at FCI Butner.

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COURT’S DISCUSSION

The Adam Walsh Child Protection and Safety Act of 2006,
Pub. L. No. 109-248, 120 Stat. 587 (2006), authorizes the
indefinite civil commitment of, inter alia, individuals in the
custody of the Bureau of Prisons who are determined to be
sexually dangerous persons. A ‘sexually dangerous person” is
defined by statute as one “who has engaged or attempted to
engage in sexually violent conduct or child molestation and who
is sexually dangerous to others.” 18 U.S.C. § 4247(a) (5).
“Sexually dangerous to others” means that “the person suffers
from a serious mental illness, abnormality, or disorder as a
result of which he would have serious difficulty in refraining
from sexually violent conduct or child molestation if released.”
18 U.S.C. § 4247(a) (6).

To obtain an order civilly committing Cox pursuant to

§ 4248, the government must prove by clear and convincing
evidence: (1) that Cox “has engaged or attempted to engage in
sexually violent conduct or child molestation”; (2) that Cox

currently “suffers from a serious mental illness, abnormality,
or disorder”; and (3) that as a result of the serious mental
illness, abnormality, or disorder, Cox “would have serious
difficulty in refraining from sexually violent conduct or child

molestation if released.” United States v. Comstock, 627 F.3d

 

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513, 515-16 (4th Cir. 2010). Clear and convincing evidence is
“Yevidence of such weight that it produces in the mind of the
trier of fact a firm belief or conviction, without hesitancy, as
to the truth of the allegations sought to be established, ’” or
» ‘evidence that proves the facts at issue to be highly

probable.’” United States v. Hall, 664 F.3d 456, 461 (4th Cir.

 

2012) (quoting Jimenez v. DaimlerChrysler Corp., 269 F.3d 439,

 

450 (4th Cir. 2001)).
I. Sexually Violent Conduct or Child Molestation

There is no dispute in this case that Cox has previously
engaged in or attempted to engage in acts of child molestation.
This is evidenced by his 1982 convictions for sodomy of a child
under the age of sixteen and indecent acts with a child under
the age of sixteen, as well as his 2003 convictions for
attempted enticement of a minor to travel in interstate commerce
for sexual activity and receiving child pornography. See 28
C.F.R. § 549.93 (defining “child molestation” to include “any
unlawful conduct of a sexual nature with, or sexual exploitation

of, a person under the age of 18 years”), cited with approval in

 

United States v. Comstock, 627 F.3d 513, 520 (4th Cir. 2010).

 

Thus, the government has established the first prong of sexual

dangerousness by clear and convincing evidence.

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II. Serious Mental Illness, Abnormality or Disorder

The government has also shown, by clear and convincing
evidence, that Cox suffers from a serious mental illness,
abnormality or disorder. The court heard the testimony of three
forensic psychologists, Drs. Jeffrey Davis, Joseph Plaud and
Heather Ross, and their reports were entered into evidence.
(See Petr.’s’ Trial Exs. 3, 5, 7). All three of these experts
found that Cox suffers from pedophilia, sexually attracted to
females, non-exclusive type, meaning that Cox's ‘sexual
orientation is directed to both prepubescent and post-pubescent
females. Cox does not dispute the experts’ diagnosis of
pedophilia. As pedophilia* is a “serious mental illness,

abnormality or disorder” within the meaning of § 4248, the

government has met its burden as to the second prong.”

 

‘pedophilia is a paraphilia, the diagnostic criteria for
which include recurrent, intense, sexually arousing fantasies,
gexual urges or behaviors involving sexual activity with
prepubescent children (generally age 13 years or younger) over a
period of at least six months, which the individual has acted
upon or which have caused the individual marked distress or

 

interpersonal difficulty. American Psychiatric Association,
Diagnostic and Statistical Manual of Mental Disorders, Fourth
Edition (Text Revision). In addition, a diagnosis of pedophilia

is appropriate only if the individual is at least sixteen years
old and at least five years older than the child or children.
Td.

‘The government urges the court to also find that Cox

suffers from paraphilia (not otherwise specified) and a

personality disorder marked by paranoid = and narcissistic

features. In light of its ruling herein, the court declines to
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III. Serious Difficulty Refraining from Sexually Violent Conduct
or Child Molestation

The third prong requires the government to prove, by clear
and convincing evidencing that Cox, if released, would have
serious difficulty in refraining from sexually violent conduct
or child molestation as a result of his pedophilia. This prong
“\gerve[s] to limit involuntary civil confinement to those who
suffer from a volitional impairment rendering them dangerous

beyond their control.’” United States v. Hall, 664 F.3d 456,

 

463 (4th Cir. 2012) (quoting Kansas v. Hendricks, 521 U.S. 346,

 

357 (1997)). The government need not establish that the person
it seeks to commit will or is likely to reoffend. However,

there must be proof of serious difficulty in
controlling behavior. And this, when viewed in light
of such features of the case as the nature of the
psychiatric diagnosis, and the severity of the mental
abnormality itself, must be sufficient to distinguish
the dangerous sexual offender whose serious mental
illness, abnormality, or disorder subjects him to
civil commitment from the dangerous but typical
recidivist convicted in an ordinary criminal case.

Kansas v. Crane, 534 U.S. 407, 413 (2002).
The mere presence of a sexual attraction to minors is
insufficient to meet the “serious difficulty” prong. United

States v. Carta, No. 07-12064, 2011 WL 2680734 (D. Mass. July 7,

 

determine whether these diagnoses apply to Cox or whether they
constitute a “serious mental illness, abnormality or disorder”
for purposes of § 4248.

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2011), aff’d, No. 11-1921, 2012 WL 3064842 (lst Cir. July 27,
2012). “[I]£ the person the government seeks to commit has
developed the skills necessary to overcome the urge to have
sexual contact with minors without [serious] difficulty,” the
government fails in meeting its burden as to this prong of the
test. Id.

The three experts in this case are unanimous in their
opinions that Cox will have serious difficulty in refraining
from engaging in sexually violent conduct if released. Dr.
Plaud, who was selected as Cox’s expert, testified that he
believes Cox's condition to be chronic. He noted that Cox has
sexually exploited pre-pubescent girls over a period of two
decades, that he has a “consistency of behavior,” and that the
treatment he has received has had little effect on Cox.

According to Dr. Plaud, Cox has expressed no empathy for
his victims and has failed to acknowledge any wrongdoing on his
part. With regard to Cox’s 1980-1981 sexual assaults, Dr. Plaud
notes that Cox stated he learned at Fort Leavenworth that his
“inhibitions were in a state of severe compromise due to a
number of factors,” including pain medication he was taking as a
result of an automobile accident, the mixing of alcohol with
those medications, a severe beating suffered by his mother at

the hands of his step-father, and the trauma he experienced as a

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result of his father’s death and physical abuse by his step-
father. In his forensic evaluation report, Dr. Plaud notes that
Cox “focused on the control and anger he was experiencing at the
time of the assaults, rather than on a primary sexual motivation
or attraction to pre-pubescent individuals.” (Petr.’s Trial Ex.
7 at 4.)

Dr. Plaud also testified that Cox’s explanation of his 2003
conviction “borders on delusional.” Plaud stated that Cox
blamed his involvement in the internet child pornography ring on
a work-related accident - that while recovering from an injury
at home he began spending time on the internet in sexual
chatrooms, which he claimed to be all adult. Cox described the
Panty Raiders/Lolita Lovers group he administered as initially
being of a “softcore nature” and decided to end his involvement
in the sexual boards when they became harder core. (Petr.’s
Trial Ex. 7 at 5.) Cox claimed that he wanted to put a stop to
the exploitation of children and decided to “put into motion ‘a
plan to get busted, so that the Feds could use the computer
information [he] had’” to prosecute the others involved.
(Petr.’s Trial Ex. 7 at 5-6.) Cox maintained that he knew
“Brenda” was a federal agent and that it was because of his plan
that “we brought the group down,” with more than = sixty

individuals being arrested and prosecuted for their involvement

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in the pornography ring. (Petr.’s Trial Ex. 7 at 6.) Dr. Plaud
testified that he has seen nothing to indicate to him that Cox
has changed - that he continues to externalize his behavior
rather than deal with the reasons underlying his sexual urges
and behavior. According to Dr. Plaud, Cox has never
acknowledged his actions were wrong or _ bad, and Cox's
minimization of his conduct is so pervasive that it operates as
a barrier to change.

Dr. Ross testified that a number of factors indicate that
Cox has a volitional impairment that puts him at great risk to
reoffend. She opines that Cox’s history is “gignificant for
sexual pre-occupation.” (Petr.’s Trial Ex. 5 at 17.) Cox
suggested to her that viewing pornography “was not a risk factor
for future hands-on offending for him and noted that interacting
with the other [internet child pornography] administrators was
like -‘group therapy’ for him.” (Petr.’s Trial Ex. 5 at 17.)
Dr. Ross notes that Cox had repeated contact with one or more
victims he molested and that his “obsessive involvement” in
child pornography in the late 1990s through 2003 was a
“lifestyle” for him. These factors, as well as Cox’s limited
sexual interest or involvement with adults and his lack of
positive social influences, are factors Dr. Ross considers

indicative of a lack of volitional control.

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Dr. Davis also opines that Cox will have serious difficulty
in refraining from sexually violent conduct or child molestation
as a result of his pedophilia. Dr. Davis testified that Cox is
not impulsive but possesses poor problem-solving skills. He
points out that Cox made no statement of an intent or ability to
refrain from reoffending and that he would not have any
confidence in Cox were he to now claim responsibility for his
prior acts. Dr. Davis finds Cox’s more recent offense conduct
to be particularly troubling since it occurred after Cox had
been sanctioned for prior similar acts. Tt is Dr. Davis’
opinion that, following Cox’s court-martial, his paraphilic
behavior actually escalated, thereby evidencing a volitional
impairment.

To assist in their assessment of Cox’s risk of sexual
recidivism, Drs. Davis and Ross utilized a number of actuarial
instruments. Dr. Ross used the Static-99R and scored Cox in the
moderate/high or high risk category for reoffending. Dr. Davis
used the Static-99R, Static-2002R, the Minnesota Sex Offender
Screening Tool-Revised (“MnSOST-R”), and the Structured Risk
Assessment-Forensic Version Light (“SRA:FV/Light”). Dr. Davis
scored Cox in the moderate/high or high risk category on the

Static-99R, in the moderate risk category on the Static-20002R,

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in the high risk category on the MnSOST-R, and in the high range
of the SRA:FV/Light. |

Drs. Davis and Ross also considered dynamic risk factors
relevant to sexual offense recidivism using STABLE-2007.
Dynamic risk factors are factors that have the capacity to
change over time, such as with treatment or due to the aging
process. Both Drs. Davis and Ross identified the following
dynamic risk factors as increasing Cox’s risk of sexual
recidivism: (1) significant social influences, particularly
Cox’s criminal peer association and the lack of positive social
influences; (2) intimacy deficits evidenced by Cox’s lack of a
stable relationship and his emotional identification with
children; and (3) sexual self-regulation based on Cox’s long
history of sexual preoccupation and pronounced deviant sexual
interests in prepubescent and pubescent girls. In addition, Dr.
Davis identified as problematic Cox's cooperation with
supervision in the community based upon Cox’s parole revocation,
although Dr. Davis does credit Cox for cooperating with
supervision while incarcerated.

Dr. Plaud utilized the Sexual Violence Risk-20 (“SVR-20"),
an instrument used to evaluate twenty static and dynamic factors
or areas of functioning in individuals convicted or alleged to

have committed a sexual offense. The SVR-20 is used in

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assessing the risk of sexual offense recidivism, as well in the
future planning of psychological or behavioral interventions to
manage or reduce future risk. It is Dr. Plaud’s expert opinion
that Cox “present[s] with a significant pattern of risk factors
for engaging in sexually recidivistic behavior given the risk
factors measured by the SVR-20, especially when focus is given
to dynamic factors as opposed to static or historical factors in
the risk analysis.” (Petr.’s Trial Ex. 7 at 11.)

Dr. Plaud also administered the Personality Assessment
Inventory (“PAI”) and the International Personality Disorders
Examination (“IPDE”). The PAI is an objective inventory of
adult personality used to assess psychopathological syndromes,
and the IPDE is a diagnostic instrument developed to provide a
uniform approach for assessing personality disorders. Dr. Plaud
reports that PAI testing revealed that Cox “tends to portray
himself as being relatively free of common shortcomings to which
most individuals will admit, and he also appears somewhat
reluctant to recognize minor faults in himself.” (Petr.’s Ex. 7
at 12.) Dr. Plaud also notes that IPDE test results reveal that
Cox exhibits paranoid and narcissistic tendencies which, when
combined with Cox’s paraphilia, suggest an acute and serious
sexual deviancy that, in Dr. Plaud’s opinion, would cause Cox to

“havl[e] serious difficulty in refraining from sexually violent

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conduct or child molestation if he were released at the present
time.” (Petr.’s Trial Ex. 7 at 10.)

The experts also examined possible protective factors that
may decreage Cox’s risk of sexual recidivism. These factors
include (1) residing in the community without sexually offending
for a significant period of time; (2) having less than fifteen
years left in the offender’s time at risk due to illness or
physical conditions that significantly decrease the motivation
and/or ability to sexually reoffend; and (3) the offender's
advanced age. All of the experts agree that the protective
factors do not significantly lessen Cox’s sexual dangerousness.

The court concludes that the government has established
that Cox lacks the volitional control to refrain from sexually
reoffending. Cox has a long history of sexual deviancy
involving contact and non-contact offenses with prepubescent and
pubescent girls. The frequency, severity and variety of his
offenses are extremely troubling. Cox has not developed the
skills necessary to overcome his sexually deviant urges
involving minor children. Instead, he continues to minimize and
externalize his pedophilic behavior. He has also refused to
participate in sex offender treatment while in custody.
Although Cox may be subject to a remaining term of supervised

release, the court finds the conditions imposed to _ be

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insufficient to prevent Cox from engaging in high risk
activities, such as having contact with minor children.
Moreover, no evidence has been presented to show that Cox has
developed a realistic plan for his release® or that Cox will even
be receptive to sex offender treatment. In sum, the court
concludes that the government has met its burden of proving, by
clear and convincing evidence, that as a result of his
pedophilia, Cox will have serious difficulty in refraining from
sexually violent conduct or child molestation.
CONCLUSION

For the foregoing reasons, the court finds that Earl
Webster Cox is a sexually dangerous person under the Adam Walsh
Act. “accordingly, it is hereby ordered that Earl Webster Cox be
committed to the custody and care of the Attorney General
pursuant to 18 U.S.C. § 4248.

am
This (7 day of October 2012.

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MALCOLM J. HOWARD
Senior United BED os District Judge

At Greenville, NC
#31

 

Cox reported to Dr. Davis that he plans to open his own
siding business and has requested placement in a halfway. house
because he presently has no suitable friends or relatives with
whom to live if released.

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